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 8                           UNITED STATES DISTRICT COURT

 9                     FOR THE CENTRAL DISTRICT OF CALIFORNIA

10                                 SOUTHERN DIVISION

11                               April 2021 Grand Jury

12   UNITED STATES OF AMERICA,                No. 8:21-cr-00212-JVS

13             Plaintiff,                     I N D I C T M E N T

14             v.                             [18 U.S.C. § 2423(b): Travel with
                                              Intent to Engage in Illicit Sexual
15   NATHAN KEYSHAWN WILLIAMS,                Conduct with a Minor; 18 U.S.C.
       aka “Kbotn,”                           §§ 2252A(a)(1), (b)(1):
16                                            Transportation of Child
               Defendant.                     Pornography; 18 U.S.C.
17                                            §§ 2252A(a)(5)(B), (b)(2):
                                              Possession of Child Pornography]
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          The Grand Jury charges:
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21                                      COUNT ONE
22                               [18 U.S.C. § 2423(b)]
23        On or about August 26, 2021, defendant NATHAN KEYSHAWN WILLIAMS,
24   also known as “Kbotn,” knowingly traveled in interstate commerce,
25   from Houston, Texas to Los Angeles County, within the Central
26   District of California, for the purpose of engaging in illicit sexual
27   conduct, as defined in Title 18, United States Code, Section 2423(f),
28   namely, to engage in a sexual act with a person under 18 years of age
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 1   that would be in violation of Title 18, Chapter 109A if the sexual

 2   act occurred in the special maritime and territorial jurisdiction of

 3   the United States.

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 1                                      COUNT TWO

 2                       [18 U.S.C. §§ 2252A(a)(1), (b)(1)]

 3        On or about August 26, 2021, in Orange County, within the

 4   Central District of California, defendant NATHAN KEYSHAWN WILLIAMS,

 5   also known as “Kbotn,” knowingly transported at least one video of

 6   child pornography, as defined in Title 18, United States Code,

 7   Section 2256(8)(A), using a means and facility of interstate and

 8   foreign commerce, and in and affecting interstate and foreign

 9   commerce by any means, including by computer, knowing that the image

10   was child pornography.

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 2                                         COUNT THREE

 3                        [18 U.S.C. §§ 2252A(a)(5)(B), (b)(2)]

 4           On or about August 27, 2021, in Orange County, within the

 5   Central District of California, defendant NATHAN KEYSHAWN WILLIAMS,

 6   also known as “Kbotn,” knowingly possessed an Android cellular phone,

 7   that contained child pornography, as defined in Title 18, United

 8   States Code, Section 2256(8)(A), namely, a video file titled “510,”

 9   depicting a person under the age of 18, that had been shipped and

10   transported using any means and facility of interstate and foreign

11   commerce and in and affecting interstate and foreign commerce by any

12   means, including by computer and cellular telephone, and that had

13   been produced using materials that had been mailed, shipped, and

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